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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRlCT OF TENNESSEE

 

 

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(}l" TN Pf!`r}gr`rHQ
LUTRICIA BARNETT BUCKLEY, 215

Administratrix of the Estate of DENVEY
BUCKLEY, for the use and benefit of
KATRINA and LATRICE BUCKLEY, as
Next of Kin and Heirs at law of DENVEY
BUCKLEY, deceased

Plaintiffs, No. 03-2874-DP
MAGISTRATE JUDGE TU PHAM
v.

ClTY OF MEMPHIS, THE CITY OF
MEMPHIS POLICE DIVISION, OFFICER
PHILLIP PENNY, OFFICER KURTIS
SCHILK, OFFICER ROBERT G.
TEBBETTS, individually and in their
Representative Capacities as City of Memphis
Po]ice Division Offlcers.

Defendants.

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ORDER GRANTING PLAINTIFF'S UNOPPOSED MOTIONS FOR PERN[ISSION TO
REPLY AND FOR TEN DAYS TO FILE THE REPLY TO DEFENDANT KURTIS
SCHILK'S RESPONSE IN OPPOSITION TO PLAINTIFF'S MOTION TO COMPEL
PRODUCTION OF DEFENDANT KURTIS SCHILK'S EXECUTED MEDICAL
AUTHORIZATION FORM

 

Upon the unopposed motions of Plaintiff Lutricia Barnett Buckley, and for good cause
shown, it is HEREBY ORDERED that Plaintiff may have ten (l 0) days from entry of this order
to tile a reply to Defendant Kurtis Schilk's response to Plaintiff's motion to compel the execution

of Defendant's medical authorization form.

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THE`TI©NG’RA‘BLE J. TU PHAM
UNITED sTATES MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 159 in
case 2:03-CV-02874 Was distributed by faX, mail, or direct printing on
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Amber Isom-Thompson

KIESEWETTER WISE KAPLAN SCHWIMMER & PRATHER, PLC
3725 Champion Hills Drive

Ste. 3000

1\/1emphis7 TN 38125

Thomas E. Hansom
HANSOM LAW OFFICE
659 Freeman Street
1\/1emphis7 TN 38122--372

Buckner Wellford

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ
165 Madison Ave.

Ste. 2000

1\/1emphis7 TN 38103

.1 ean Markowitz
CAUSEY CAYWOOD
100 North Main St.

Ste. 2400

1\/1emphis7 TN 38103

Thomas L. Parker

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ- Memphis
165 Madison Ave.

Ste. 2000

1\/1emphis7 TN 38103

Robert D. Meyers

KIESEWETTER WISE KAPLAN & PRATHER, PLC
3725 Champion Hills Drive

Ste. 3000

1\/1emphis7 TN 38125

Honorable Bernice Donald
US DISTRICT COURT

